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Exhibit C

 

 
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i racelved an email earlier last-the week from Cassie. Troup regardirig the two
open employment cases-beiria handled by CCAP. |was asked to call her to answer
questlons regarding a position. statement written by Robin Read that had already
been shared-before we'd gotten a copy.of it: When we were alerted that it had
already been shared, Commissioner? Atan Hall requested: copies and there were
Marty inaccuracies in it..

During my conversation, Thursday, June &th, for approximately 1 haurand 23
minutes, | expressed many times that | thought this was a waste of time as-my
individual statement. was already taken by Robin head on Thursday, December 8,
2016 and then, there was a later meeting with-her, the three Commissioners and
aur solicitor, Michael Glangrieca.

We. first discussed the MicNamara-case. In regard.to-che Rich Ely incident, there
was Hever any mention in the statement of me talking to McNamara-asking her If
‘she was comfortable with our.decision and continuing to work in the same. vicinity

of the Courtholse as Ely was. She sald she was okay with that. Next discussed
was her retallation claim: in regard to a sentence that stated Commissioner
MaryAnn Warren had many problems with Claimant's sloppy wark. Someone
alse’s words. 1 never made that exact statement, what.! did say Is that she Jacked
an attention for detail and had many grammatical and.clerical errors in regard to
Commissioners’ minutes and agendas. Next was, “Because Claimant did not.
improve her work, Commissiorier Warren stopped correcting Claimant's work.”
Was never-sald by me. Thatis nota true statement, as { never sald that. i told of:
one occasion that 1-tried £6 Interrupt the Chief Clerk snd Deputy Chief.Clerk as
they worked on-the agenda and It was stressed to. ime that they. were working on
the agenda thiat “I” was expecting it at.noon. It was. approximately 11:52 AM, so |
walked out-and never did get what: needed. Asi walked to my office quite
annoyed, t'd made up my mind that { would not review. the draft agenda and | did
not. Never made a statement or thought that publically embarrassing the
Claimant would improve her work. Aga)n, | did not say that.

"Was never aware of official complaints regarding Claimant’s.condescending and
rude behaviar.

 

 
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| *} believe Commissioner Arial was made aware of the sexual harassment élains
by our solicitor, Michael Glangrieco In March of 2016,

“| was repeatedly questioned regarding the power’ of Stoud and the-chain of
command, | repeatedly answered that {t was, In.fact, the way.the majority of
Cornmissioners wanted the Courthouse run. tt had worked far years, why would
we.change it?l?!

“When asked If lever witnessed Stoud not answering Commisstoner Arnold, |
sald, “No.” Commissioner Hall atid | had directed Steud nat to repeat what was
discussed in the dally'8:15'AM briefings as It was up to her ta-attend:them, Itwas
not up to an-ernploya¢ to have to repeat discussions as there was entirely too
much to do, to take time with each Commissioner.

“The paragraph regarding the Victim Witness Coordinator posttion-opening Is not
accurate, 1 knew the position was open as the previous employee had been
terminated. It was brought to. my attention by Commissioner Hall that McNamara
was Interasted in applying for it, Wheh it was confirmed that she’d applied and |
believe was Interviewed, | spoke with Commissioner.Hall about me talking with
McNamara and.asking for reconsideration in her staying.as.| would work with her
more closely to get the riinutes and agendas correct, We-had no further
discussion; | read that she was transferring when | received the draft agenda.

in the Stoud position statement, the paragraph regarding his alleged demotion as
I iviow it, was that Commissioner Hall asked him ta go from Chief Clerk/Director
of. Public Safety to Deputy Chief Clerk/Directer of Public Safety. Fasked
Commissioner Hail as.to ‘why” and he replied, It would allow us to advertise fora
‘Chief Clerk. Asi stated, when. asked Stoud, he sald Comimisstoner Hall asked him
to, there was. never any mention about not working with Corimissioner Amold, 1

never: heard. him make that statement. There-were conversations. with: Stoud as
to'“how"” te work with Commilssianer Arnald as she. had- no.respect for hirn, He
said he’d tried ali sorts of strategies and nothing seemed to work as she either

ignored him or yelled at him.

Before the phone conversation ended | expressed many thmes that | has to share

 
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a disturbing event that happened when Robin Read met with the Commissioners
and out Solicitor, Thare had been a récent incident between Commissioner
Armold and Deputy Chief Clerk Stoud:that1 had been witness td, Robin Read
questioned me about ft and when J told the truth of what I'd witnessed, she
yelled at me for siding with Stoud.. | had-only told-the truth and ebviously, that
was not what she wag lookirig for with the tone that ste addressed me with.

MaryAnn Warren

 
